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                    UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA
                       Criminal No. 14-mj-1024 (MJD)
_____________________________________________________________________

United States of America,

              Plaintiff,                               DEFENDANT’S MOTION
                                                       IN OPPOSITION TO THE
v.                                                     PLAINTIFF’S MOTION FOR
                                                       REVIEW AND REVOCATION OF
Abdullahi Yusuf,                                       ORDER RELEASING
                                                       DEFENDANT
              Defendant.


       The above-named Defendant, by and through his attorney, respectfully moves this

Court for an order denying Plaintiff’s Motion for Review and Revocation of Order

Releasing Defendant.

       This motion is based upon the Complaint, the accompanying Memorandum in

Support of Defendant’s Opposition to the Plaintiff’s Motion for Review and Revocation of

Order Releasing Defendant, all of the files, records, proceedings, recordings of

proceedings, transcripts and any and all other matters which may be presented prior to or

at the time of the hearing of this motion.

                                                BRANDL LAW, LLC



Dated: December 3, 2014                      By: s/Jean M. Brandl
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